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     KENNETH GEORGE EATON
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 6
                                  IN THE UNITED STATES DISTRICT COURT
 7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,                              )   No. 2:11-CR-00323 JAM
10                                                          )
                     Plaintiff,                             )   ORDER EXONERATING BAIL
11                                                          )   AND RECONVEYANCE OF
            vs.                                             )   DEEDS OF TRUST
12                                                          )
     KENNETH GEORGE EATON,                                  )
13                                                          )
                                                            )
14                   Defendant.                             )
15
16          The Defendant, KENNETH GEAROGE EATON, having been sentenced to a prison term
17   of 78 months on June 11, 2013, and good cause appearing:
18          IT IS ORDERED THAT:
19          The Deeds of Trust, previously posted as security in this matter are hereby exonerated.
20   The Clerk of the Court or designee is directed forthwith to exonerate the bail posted herein and
21   prepare and cause to be filed a Deed of Reconveyance as necessary to fully exonerate bail. The
22   Deeds to be reconveyed are:
23          1) Deed of Trust, filed November 2, 2011 (Docket Number 54), from Charles and Jill
24                Spitzer; and
25          2) Deed of Trust, filed December 8, 2011 (Docket Number 60), from Patricia L. Eaton.
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27   DATED: 9/4/2013                              /s/ John A. Mendez________________________
                                                  JOHN A. MENDEZ
28                                                UNITED STATES DISTRICT COURT JUDGE
